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                    UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE




      UNITED STATES OF AMERICA
                                            08-cr-128-01-PB
                     v.                     November 1 9 , 2009
                                            11:40 a.m.
      KURT SANBORN




                  TRANSCRIPT OF SENTENCING HEARING
               BEFORE THE HONORABLE PAUL J. BARBADORO



      Appearances:

      For the Government:   Robert Kinsella, AUSA
                            U.S. Attorney's Office
                            53 Pleasant Street
                            Concord, NH 03301

      For the Defendant:    Alan Baum, Esq.
                            Law Offices of United Defense Group
                            4181 Sunswept Drive, Suite 100
                            Studio City, CA 91604

                            Donald A. Kennedy, Esq.
                            78 W . Merrimack Street
                            Manchester, 03101

      Probation Officer:    Kevin Lavigne

      Court Reporter:       Sandra L. Bailey, LCR, CM, CRR
                            Official Court Reporter
                            United States District Court
                            55 Pleasant Street
                            Concord, NH 03301
                            (603)225-1454
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   1                          BEFORE THE COURT

   2              THE CLERK:    Court's in session and has for

   3   consideration a sentencing hearing in United States of

   4   America versus Kurt Sanborn, Criminal Case Number

   5   08-cr-128-01-PB

   6              THE COURT: Mr. Sanborn, the report I have for

   7   you is dated January 9th.     It was revised on

   8   November 12th.    Have you seen that report?

   9              THE DEFENDANT:    Yes, sir.

  10              THE COURT: Have you read it and discussed it

  11   with your attorney?

  12              THE DEFENDANT:   Yes, sir.

  13              THE COURT: Do you feel you understand it?

  14              THE DEFENDANT:   Yes, I d o , sir.

  15              THE COURT: Does the government dispute any of

  16   the facts or legal conclusions contained in the report?

  17              MR. KINSELLA:    We do not.

  18              THE COURT: Are you pressing any objections on

  19   behalf of your client?

  20              MR. BAUM:    Good morning, your Honor.   Alan

  21   Baum appearing on behalf of Mr. Sanborn along with Mr.

  22   Kennedy.

  23              We had lodged an objection to the first draft

  24   of the PSR wherein the probation officer assessed a

  25   two-point adjustment for role in the offense.       The
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   1   revised report that the court is now referring to

   2   withdrew that adjustment but did explain in the addendum

   3   that they believed the two points for abuse of position

   4   of trust would be applicable, therefore I suppose the

   5   objection to role in the offense is moot, and after

   6   considering the application notes and the authority we

   7   would submit the issue and not object to the probation

   8   officer's conclusion on the two points for abuse of

   9   position of trust.

  10             THE COURT: It's a classic case where that

  11   adjustment fits.

  12             MR. BAUM:   I agree, your Honor.

  13             THE COURT: All right, so that's fine, then,

  14   so you don't object to the revised report.

  15             I adopt the findings of fact and conclusions

  16   of law set forth in the report which will be made a part

  17   of the record under seal.   I determine that the

  18   defendant's total offense level is 1 8 , his Criminal

  19   History Category is I.    The guideline sentencing range

  20   is 27 to 33 months.

  21             What's the government's recommendation?

  22             MR. KINSELLA:   We're recommending 27 months.

  23             THE COURT: All right. Counsel, I'll hear you

  24   on your request for a variance and any arguments you

  25   have for a sentence lower than the --
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   1               MR. BAUM:   May I use the podium?

   2               THE COURT: Yes.

   3               MR. BAUM:   And your Honor, I apologize for not

   4   having submitted this earlier this morning, but if I may

   5   ask the court to receive the -- a letter from Greg

   6   Sanborn who is the defendant's brother, it was just --

   7   it was received after I filed my sentencing memorandum.

   8               THE COURT: All right, why don't you hand it

   9   up.   I've read the other letters that have been

  10   submitted.   Just give me a moment to read this one.

  11               (Pause.)

  12               THE COURT: All right, I've read the letter.

  13   Go ahead.

  14               MR. BAUM:   Thank you, your Honor. In the

  15   defendant's sentencing memorandum the defendant is

  16   asking for a variance whereby the court would impose a

  17   sentence, rather than a commitment to the Bureau of

  18   Prisons, fashion a sentence that would enable Mr.

  19   Sanborn to continue in the very positive and productive

  20   steps that he has been able to take in connection with

  21   his current employment.    I know your Honor handles

  22   sentencings probably every day and for many years and

  23   nobody wants to go to prison --

  24               THE COURT: I've sentenced a small city worth

  25   of people to prison over my 17 years as a judge.
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   1             MR. BAUM:   And in my 41 years as a defense

   2   lawyer, regretfully I've represented even more.     But

   3   every so often the argument presented to the court that

   4   not putting him in prison would enable him to continue

   5   to pay his child support, continue to go to church,

   6   continue to be productive and mend some old fences with

   7   his family, continue to work and pay restitution, every

   8   so often those excuses or those explanations or

   9   arguments --

  10             THE COURT: Excuse m e , has he made any

  11   restitution up to now?

  12             MR. BAUM:   He has not because the

  13   employment -- his earnings have been growing in the job

  14   that he's now i n , and it has taken him a very long time

  15   to pay the old debts that still exist in connection with

  16   orders that have been made --

  17             THE COURT: I'll tell you, actions speak

  18   louder than words. I have had defendants who, for

  19   example, have taken a second job and devoted the

  20   earnings to the second job solely to making restitution

  21   in advance of sentencing, and to the extent somebody has

  22   actually made a substantial contribution to reducing the

  23   restitution obligation in advance of sentencing, that's

  24   something that often impresses me because it's easy to

  25   say how sorry you are, it's a lot harder to go out and
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   1   do something about i t .   I'm not going to hold it against

   2   your client that he didn't do that, but I do think we

   3   have to take expressions of remorse into their

   4   appropriate context when we see a case like this.     Your

   5   client made substantial money out of his crime and

   6   hasn't made any effort to pay it back.

   7             MR. BAUM:     I understand, your Honor.   The

   8   circumstances that led to this crime and other

   9   self-destructive and inappropriate and illegal behavior

  10   were dealt with a little bit in Dr. Drogan's report.      I

  11   think that Mr. Sanborn is beginning to recognize the

  12   factors that led him to make it seem as though

  13   everything was okay by stealing instead of living within

  14   his own means. The low self-esteem that leads a person

  15   to do that, to hide that from your family, again, are

  16   things that recent insight we believe is going to make a

  17   big difference in his future. He's growing with this

  18   company now.   His employer just told him that --

  19             THE COURT: Are you able to make any

  20   representations to me concerning where this money went,

  21   what it was used for?

  22             MR. BAUM:   Only generally speaking, and that

  23   was over a period of about 18 months. The family had

  24   acquired debt. We don't place blame, but as far as who

  25   it was that was charging and had like 12 credit cards
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   1   that needed to be serviced, it wasn't Mr. Sanborn, but

   2   again, I hesitate to point fingers --

   3             THE COURT: Well, I , frankly, and maybe the

   4   probation officer has some updated information, the

   5   report I have reflects very limited information

   6   concerning the defendant's current financial status.

   7   Has he submitted a statement of his net worth and

   8   documentation to support that?

   9             MR. LAVIGNE: We have no additional

  10   information, your Honor.

  11             THE COURT: So you really can't tell me what

  12   he's got for bank accounts, what he's got for --

  13             MR. LAVIGNE: Not at this time.

  14             THE COURT:    Yeah.

  15             MR. BAUM:    I can tell you this, your Honor.

  16             THE COURT: Why didn't you give us that

  17   information which is routinely supplied by defendants?

  18             MR. BAUM:    It wouldn't shed any more light

  19   than --

  20             THE COURT: You're saying sort of trust m e ,

  21   judge, trust the defendant.     How do I know he doesn't

  22   have the money sitting in a bank account somewhere?

  23             MR. BAUM:    Well, there is a parallel -- well,

  24   not parallel -- but there's another action that's been

  25   going on for about two and a half years, and that's in
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   1   the family law courts in this county, and he has been

   2   held strictly accountable as to all of his income,

   3   payments are regulated, child support is all being done

   4   through a guardian that has been appointed, it's a

   5   rather contentious not divorce, that part is over with,

   6   but in the child custody, he has a 9-year-old and

   7   12-year-old.

   8              THE COURT: As much sympathy as I have for his

   9   children and his ex-wife, they're not allowed to take

  10   money he stole from other people and use it for their

  11   support.

  12              MR. BAUM:   Well, that hasn't been the case in

  13   the last four years since this crime was --

  14              THE COURT: I just don't know and have no way

  15   of verifying -- does the government have any, have you

  16   done an investigation to determine whether there are any

  17   proceeds to this criminal activity that still remain and

  18   are subject to being forfeited or acquired by the

  19   government in some way?

  20              MR. KINSELLA:   To our knowledge there is no

  21   criminal proceeds available for forfeiture or to be used

  22   to --

  23              THE COURT: Do you have something -- is that

  24   the result of investigation because I don't have the

  25   financial information that I ordinarily have about a
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   1   defendant.

   2             MR. KINSELLA:   It's the result of our

   3   investigation of the crime and determining where he

   4   spent the money and --

   5             THE COURT: Where do you say it went?

   6             MR. KINSELLA:   To pay personal expenses

   7   related to his family which were exorbitant.

   8             THE COURT: You mean his former wife and

   9   children or his current family?

  10             MR. KINSELLA:   His family at the time which is

  11   his ex-wife.

  12             THE COURT: So it was just debts that he and

  13   she had incurred and money was used to pay down those

  14   debts?

  15             MR. KINSELLA:   Yes.

  16             THE COURT: And you believe that in fact that

  17   money was spent, that it is not available somewhere now

  18   to satisfy a restitution payment?

  19             MR. KINSELLA:   Yes.

  20             THE COURT: And you believe that based on an

  21   investigation where you were able to track the source of

  22   funds through accounts?

  23             MR. KINSELLA:   We saw where the stolen money

  24   went to and how it was used, yes.

  25             THE COURT: Okay.    Well, that gives me some
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   1   reassurance that he just doesn't have a lump sum of

   2   money out there hidden from all of u s . Okay.      All

   3   right.

   4               Thank you.    Go ahead.

   5               MR. BAUM:    And I'm relieved because I was

   6   relying upon that as well, and I felt perhaps I let the

   7   court down --

   8               THE COURT: I don't trust criminal defendants,

   9   you know, to the extent that I don't have verification

  10   about things like that, I don't trust them, and why

  11   should I?

  12               MR. BAUM:    N o , I --

  13               THE COURT: Ordinarily we are provided with

  14   financial records, and without the financial records I'm

  15   not going to trust the defendant, but I certainly trust

  16   the government that does a much more extensive

  17   investigation ordinarily than our probation office is

  18   capable of conducting, and the government represents to

  19   me it's tracked the proceeds of the criminal activity

  20   and determined it went into paying his and his ex-wife's

  21   and children's expenses and is no longer available to

  22   satisfy restitution, I accept that.

  23               MR. BAUM:    Thank you, your Honor.   Just

  24   putting things in perspective chronologically, for a

  25   couple of years after he was charged in this case and
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   1   pled guilty, he found it very difficult to get any kind

   2   of meaningful employment.   Lots of reasons for that

   3   which, again, would partially involve some finger

   4   pointing and I don't want to do that. But 18 months ago

   5   he was able to get this job with Geocomp, and since then

   6   he has built the company and has really established

   7   himself.   His employer has indicated that he's willing

   8   to pay him more money if it makes a difference as far

   9   as -- that can be set aside for restitution.    He told

  10   Kurt that he was going to give him a $50,000 a year

  11   raise which could be earmarked especially for

  12   restitution.

  13              Now, I know that's prospective and I know that

  14   the court has no power to bind Geocomp to do that or to

  15   order them to do that, but again, it's a representation

  16   and it's at least -- what we have shown is this recent

  17   employment which is very productive.   He's in full

  18   compliance with his child support payments. His family

  19   is here. There has been some alienation over the years.

  20   Some repair has been done now and his parents are here

  21   and his sister and his brother in his support.

  22              Like I said, and I know that a lot of

  23   financial crimes come before your Honor with an argument

  24   that, well, if you put him in prison, all payments stop,

  25   and that's just the way it goes.   I mean, many judges
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   1   say, well, why didn't he think about that when he was

   2   committing these crimes --

   3               THE COURT: Well, you can't allow people to

   4   buy their way out of prison either.     The idea that if

   5   you can work and pay restitution you shouldn't have to

   6   be held to account for your crimes is not an idea that I

   7   think society is prepared to accept.

   8               MR. BAUM:   And that's why we walk a fine line

   9   in suggesting that in the overall consideration of all

  10   the 3553(a) factors, perhaps this case, which is not off

  11   the charts in the guidelines, it's not a radical

  12   departure or variance that would put Mr. Sanborn's

  13   sentencing in a context where he could get work release

  14   or home detention, courts are now imposing sentences as

  15   long as 12 or 18 months of home detention as opposed to

  16   the old guideline structure of Zone C type cases.

  17               S o , it's something for the court to weigh in

  18   the 3553(a) factors as far as the deterrence factor and

  19   what is a reasonable and appropriate sentence.

  20               THE COURT: All right. Thank you.

  21               MR. BAUM:   Thank you, your Honor.

  22               THE COURT: You have an opportunity to speak

  23   before I impose sentence. You don't have to say

  24   anything.    I won't hold it against you if you don't.

  25   But if there is anything you want to say, I'll be happy
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   1   to hear i t .   Did you want to speak, sir?

   2              THE DEFENDANT:    Yes, your Honor.

   3              THE COURT: All right, go ahead.

   4              THE DEFENDANT:    Okay, I just briefly want to

   5   say I'm sorry to the court and most importantly to Mr.

   6   Weber and his family for what I've done. I've shamed

   7   myself, my family, and my children and I'm deeply sorry.

   8              THE COURT: All right, thank you.

   9              MR. KINSELLA:    Judge, may I have one moment,

  10   please?

  11              THE COURT: Yes.

  12              (Pause.)

  13              MR. KINSELLA:    Judge, the owner of Diamond

  14   Action is here and would like to speak to the court.

  15   He's the victim of the crime.

  16              THE COURT: All right. I do think under the

  17   current law the victims have a right to apprise the

  18   court of their views. So sir, I'll be happy to hear

  19   what you want to say.    You can come up and speak here if

  20   you're comfortable, if you'd rather speak from there,

  21   that's okay.    However you want to do it is fine with m e .

  22              MR. WEBER:   I just want to say, your Honor,

  23   that Mr. Sanborn took three years of my life that I will

  24   never get back.    It's far more than money.    My wife was

  25   dying of cancer at the time and I trusted Mr. Sanborn
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   1   who was a good friend of mine I thought at the time and

   2   it was -- I didn't think I was going to make i t .   I

   3   didn't think I was going to get through i t . And it was

   4   by far the worst time of my life. And this is an

   5   important day for me being here today.   Thank you.

   6             THE COURT: All right. Thank you for coming,

   7   and I really am so sorry about what you had to go

   8   through, particularly with your wife's illness at the

   9   time.

  10             Financial crimes, particularly when they're

  11   committed by people with whom you have a trusting

  12   relationship, are particularly damaging, and because of

  13   the sense of betrayal that people feel in your position,

  14   it's hard to get over, it's hard to trust other people.

  15   I fully understand because I've heard it from so many

  16   other people over the years how seriously financial

  17   crimes can affect people, so I understand that, and I

  18   will take your concerns into account.

  19             I also know from talking to many people that

  20   there really is no sentence that can adequately address

  21   the harm that has been done to you.   As I suggested, I

  22   think if someone really had wanted to try to make amends

  23   to you, what I would have liked to have seen is someone

  24   who would stand up and do something about i t , and maybe

  25   if he had personally apologized and taken a second job
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   1   and tried to pay you 4 0 , $50,000 back over the time

   2   between the time this was discovered and now, that might

   3   go some way to helping you come to terms with this,

   4   never to fully accept or to wipe out the harm that had

   5   been done to you, but it seems to me that would have

   6   been much more valuable than simply standing up and

   7   saying I'm sorry, judge, when you know you're about to

   8   be sentenced and you're hoping the judge will treat you

   9   as leniently as possible.

  10             But I have to say to you, while I have to

  11   consider your concerns, I also have a broader set of

  12   concerns that I have to be considering.   The harm done

  13   to you is one of them.   The harm done to society by this

  14   defendant's actions have to be considered as well, as

  15   well as factors that concern this defendant. The law

  16   that I have to impose -- use when I impose sentence

  17   requires me to give a sentence that is equal to but not

  18   greater than necessary to achieve the purposes of the

  19   sentencing statute, and that's an important limiting

  20   principle.   I simply can't impose sentences to -- that

  21   are extremely high to simply address the concerns of the

  22   victim.   I have to consider all factors -- the harm that

  23   the defendant has done as well as what is the

  24   defendant's potential for rehabilitation, what are the

  25   effects of the defendant's sentence on other people,
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   1   family members, children.    I have to consider society's

   2   interest in seeing that a sentence deters others from

   3   engaging in similar conduct.     I have to try to take into

   4   account concerns, proportionality concerns so that like

   5   people are treated alike around the country, and that's

   6   why the sentencing guidelines here are particularly

   7   useful because they give me a template that tells me

   8   this is what the Sentencing Commission thinks for a

   9   typical case with this kind of loss in a crime committed

  10   this way is the appropriate range of sentences to

  11   consider, and to the extent I differ from that, I have

  12   to really be able to justify it because otherwise I am

  13   acting in a way that's disproportionate when compared

  14   with other kinds of people who commit crimes in front of

  15   other judges around the country.

  16             So I appreciate what you have to say.    I take

  17   it very seriously.    I accept that this man has harmed

  18   your life very seriously, and I will take into account

  19   your concerns when I sentence the defendant.

  20             All right, does anyone need to say anything

  21   else before I impose sentence?

  22             MR. KINSELLA:    N o , thank you.

  23             MR. BAUM:    We would ask the court for certain

  24   recommendations after you've imposed sentence, your

  25   Honor.
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   1             THE COURT: All right, well, let me address

   2   the length of the sentence here.

   3             Mr. Kinsella, I understand you bargained for a

   4   sentence at the bottom of the range. I think a sentence

   5   in the middle of the range here is appropriate.     In my

   6   view there's no mitigating factor, there's no

   7   aggravating factor that's not taken into account by the

   8   guidelines here. This is the quintessentially typical

   9   case that the guidelines, in my view, correctly capture

  10   the appropriate sentence, and a sentence in the middle

  11   of the range is appropriate.

  12             I have considered your psychological report,

  13   the arguments counsel have made, I considered the

  14   letters. I accept the fact that you have tried to be a

  15   good father, you tried to be a good husband, you have

  16   family members that care about you, you have done

  17   charitable works in the community, I accept all of that,

  18   but they don't excuse the seriousness of your conduct

  19   for which you have to be held to account.   And I know

  20   this will harm your family, your children, they will be

  21   deprived of the support that you owe them, they will be

  22   deprived of whatever contact with your children you have

  23   while you're in prison, I know that it will harm them,

  24   but I cannot give you a lighter sentence simply because

  25   incarcerating you will harm others. I need to hold you
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   1   to account for the serious crime you committed.    In this

   2   case, a sentence within the guideline range is in my

   3   view an appropriate sentence, so that's why I'm imposing

   4   the sentence that I'm imposing.

   5             Now, what would you like me to include

   6   specifically with respect to recommendations?

   7             MR. BAUM:   Thank you, your Honor. We would

   8   ask the court to recommend that he be designated to Fort

   9   Devens, Massachusetts. He lives in Massachusetts.

  10             THE COURT: I certainly have a strong interest

  11   in incarcerating him as close as possible to family

  12   members. It's not clear to me that the BOP will

  13   consider Devens an appropriate placement.   I have no

  14   objection to him being incarcerated there, so I will

  15   include that as a recommendation, but it's up to the

  16   Bureau of Prisons ultimately where he should be

  17   incarcerated.

  18             MR. BAUM:   We understand that, your Honor.

  19   And finally we would ask that he be allowed to

  20   self-surrender after the holidays.

  21             THE COURT: Let me ask counsel's view on that.

  22   Do you have reason to believe he poses a risk of flight

  23   or a risk of harm?

  24             MR. KINSELLA:   No.

  25             THE COURT: All right. This isn't a case in
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   1   which self-surrender is ordinarily precluded, thus where

   2   there isn't a risk of flight or a risk of harm, self-

   3   surrender ordinarily is an appropriate thing in these

   4   circumstances. I normally give two to three weeks to

   5   allow for designation, but we're close enough to the

   6   Christmas holidays that it seems to me that it makes

   7   sense to allow self-surrender in early January.       Does

   8   anybody object to that proposal?

   9               MR. KINSELLA:   N o , we do not object.

  10               THE COURT: All right, thank you. You can be

  11   seated.   I'm going to read the sentence. It may take me

  12   a moment.

  13               Pursuant to the Sentencing Reform Act of 1984

  14   it is the judgment of the court that the defendant, Kurt

  15   Sanborn, is hereby committed to the custody of the

  16   Bureau of Prisons to be in prison for a term of

  17   30 months.

  18               Upon release from imprisonment the defendant

  19   shall be placed on supervised release for a term of

  20   three years.

  21               Within 72 hours of release from the custody of

  22   the Bureau of Prisons the defendant shall report in

  23   person to the probation office in the district to which

  24   the defendant is released.

  25               While on supervised release the defendant
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   1   shall not commit another federal, state or local crime,

   2   shall comply with the standard conditions that have been

   3   adopted by this court, and shall comply with the

   4   following additional conditions:

   5             The defendant shall not illegally possess a

   6   controlled substance.

   7             The defendant shall not possess a firearm,

   8   destructive device, or any other dangerous weapon.

   9             The defendant shall submit to DNA collection.

  10             The drug testing condition required by 1 8 ,

  11   USC, Section 3563(a)(5) is suspended based on the

  12   court's determination that the defendant poses a low

  13   risk of future substance abuse.

  14             The defendant shall pay any financial penalty

  15   that is imposed by this judgment and that remains unpaid

  16   at the commencement of the term of supervised release.

  17             The defendant shall provide the probation

  18   officer with access to any requested financial

  19   information.

  20             The defendant shall apply all monies received

  21   from income tax refunds, lottery winnings, judgments

  22   and/or other anticipated or unexpected financial gains

  23   to the outstanding court ordered financial obligation.

  24             The defendant shall not incur new credit

  25   charges or open additional lines of credit without the
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                                                                21

   1   approval of the probation officer unless he is in

   2   compliance with the installment payment schedule.

   3             The defendant shall refrain from engaging in

   4   any occupation involving fiduciary responsibilities

   5   during the term of supervision.

   6             It is further ordered that the defendant shall

   7   pay a special assessment of $100.

   8             It is further ordered that the defendant shall

   9   make restitution to the following persons in the

  10   following amounts. Diamond Action, Inc., $293,960.79;

  11   HNTB Sports Assembly Architecture, $9,450.     Any payment

  12   that is not payment in full shall be divided

  13   proportionately among the persons names.

  14             The court finds that the defendant does not

  15   have the ability to pay a fine. The court will waive

  16   the fine in this case. The court has determined that

  17   the defendant does not have the ability to pay interest

  18   and it is ordered that the interest requirement is

  19   waived for the restitution.   The defendant is ordered to

  20   begin payments towards the total criminal monetary

  21   penalties immediately, and upon commencement of the term

  22   of supervised release the probation officer shall review

  23   the defendant's financial circumstances and recommend a

  24   payment schedule on any outstanding balance for approval

  25   by the court.
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   1             The defendant shall surrender himself to an

   2   institution designated by the Bureau of Prisons on or

   3   before 2 p.m. on January 8th.

   4             The court recommends that the defendant be

   5   able to serve his sentence as close to family members in

   6   Massachusetts if possible, Fort Devens if it's an

   7   appropriate facility for his incarceration in the

   8   judgment of the Bureau of Prisons.

   9             Are there any objections to the sentence other

  10   than those previously raised?

  11             MR. BAUM:   May I have just a moment, your

  12   Honor.

  13             THE COURT: Yes.

  14             (Attorney Baum consulting Attorney Kinsella.)

  15             MR. BAUM:   Not at this time, your Honor.

  16   There may be a joint motion filed concerning the

  17   numbers, the actual amount of restitution, but we're not

  18   prepared to deal with that now.   We will accept the

  19   court's calculation --

  20             THE COURT: Well, if there's going to be any

  21   modification to restitution I want the government to

  22   represent that it's consulted with the victim, and any

  23   position that the victim takes that's inconsistent with

  24   any position the government may take, that it's fully

  25   presented to the court.
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   1              MR. KINSELLA:    Of course, judge, and this is

   2   just brought to my attention this second.    I'm really

   3   not in a position to do the math right now.    I told him

   4   we will look at the matter, report to the victim and

   5   also to you as soon as possible.

   6              THE COURT: Yeah, you know my point, though.

   7              MR. KINSELLA:    I do.

   8              THE COURT: They came here for sentencing and

   9   wanted to know what the sentence is going to b e , and if

  10   there is going to be any change in the restitution

  11   portion of the sentence I want him to be consulted, I

  12   want his position to be presented to the court --

  13              MR. KINSELLA:    Understood.

  14              THE COURT: -- before any change is made in

  15   the sentence.

  16              MR. KINSELLA:    Understood.

  17              THE COURT: All right, anything else?

  18              MR. BAUM:   N o , your Honor.

  19              THE COURT: I will impose the sentence as I

  20   have read i t .   You may have a limited right to appeal.

  21   If you want to appeal, consult with your attorney and

  22   direct him to file a notice of appeal on your behalf.

  23   If you prefer, you can ask the clerk's office for help,

  24   but the notice of appeal does have to be filed within

  25   ten days or you lose your right to appeal.
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   1             Anything else?

   2             MR. BAUM:    N o , your Honor.

   3             MR. KINSELLA:    Thank you, your Honor.

   4             (Adjourned at 12:10 p.m.)

   5                        C E R T I F I C A T E

   6

   7             I , Sandra L. Bailey, do hereby certify that

   8   the foregoing transcript is a true and accurate

   9   transcription of the within proceedings, to the best of

  10   my knowledge, skill, ability and belief.

  11

  12

  13   Submitted: 12/9/09         / s / Sandra L. Bailey
                                  SANDRA L. BAILEY, LCR, CM, CRR
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